         Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 1 of 39




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 CASA DE MARYLAND, INC., et al

        Plaintiffs,

  v.                                         Civil No. 20-2118-PX

 WOLF, et al

        Defendant.


                                 ____________

   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ OPPOSITION TO
        PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
                           ____________


August 3, 2020                            ROBRET K. HUR
                                          United States Attorney, District of Maryland

                                          Jane E. Andersen
                                          Assistant United States Attorney
                                          (D.MD Bar No. 802834)
                                          6500 Cherrywood Lane, Suite 200
                                          Greenbelt, MD 20770
                                          (301) 344-4422
                Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 2 of 39




                                                          TABLE OF CONTENTS

INTRODUCTION ........................................................................................................................................... 1


STATUTORY AND REGULATORY FRAMEWORK ........................................................................... 2


        A. Statutory Framework for Employment Authorization for Asylum Seekers ............................ 2


        B. Regulatory Framework Related to Employment Authorization Applications Filed by
        Asylum Applicants .................................................................................................................................... 2


        C. Development and Publication of the Final 30 Day-Time Frame Removal Rule (“Final
        Timeframe Rule”) ..................................................................................................................................... 4


        D. Development and Publication of the Final Rule on Asylum Application, Interview, and
        Employment Authorization (“Broader EAD Final Rule”) ................................................................ 6


        E. Federal Vacancies Reform Act and the Appointment of Chad Wolf as Acting Secretary of
        Homeland Security ................................................................................................................................... 9


LEGAL STANDARD ....................................................................................................................................10


ARGUMENT...................................................................................................................................................10


    I. PLAINTIFFS CANNOT ESTABLISH A LIKELIHOOD OF SUCCESS ON THE
    MERITS........................................................................................................................................................10


        A. APA Review of Final Agency Rules .............................................................................................10


        B. The Final Timeframe Rule Was Promulgated Pursuant to Proper Procedure, Reflects
        Reasoned Decision-making, and is Not Arbitrary or Capricious ....................................................12


            i. The Final Timeframe Rule Was Properly Considered With the Broader Eligibility
            Requirements ......................................................................................................................................12
                                                                                 i
                Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 3 of 39




         ii. The Final Timeframe Rules Properly Considered the Harms to Bona Fide Asylum
         Seekers .................................................................................................................................................16


         iii. DHS Properly Explained Why a Defined Timeframe Was Not Included .........................17


         iv. DHS Properly Explained Why It is Removing the 30-day Processing Requirement .......18


      C. The Final Broader EAD Rule Was Promulgated Pursuant to Proper Procedure, Reflects
      Reasoned Decision-making, and is Not Arbitrary or Capricious ....................................................20


         i.      The Final Broader EAD Rule Was Properly Considered With the Timeframe Rule .......20


         ii. The Final Broader EAD Rules Properly Considered the Harms to Bona Fide Asylum
         Seekers .................................................................................................................................................21


         iii.      The Final Broader EAD Rules Properly Established the Problem it Addresses ..........23


      D. Acting Secretary Wolf is Properly Serving as the Acting Secretary for Homeland Security
      Pursuant to 6 U.S.C. 113(g)(2) ..............................................................................................................25


         i.        Secretary Kirstjen Nielsen’s April 10, 2019 Succession Order was Lawful....................25


         ii. Secretary Nielsen’s April 10, 2019 Succession Order Applied to All Vacancies ...............26


         iii. Acting Secretary Kevin McAleenan Lawfully Served as Acting Secretary, His Further
         Succession Delegation of November 8, 2019 is Lawful, and Acting Secretary Chad Wolf is
         Lawfully Serving as Acting Secretary...............................................................................................27


II.      PLAINTIFFS HAVE NOT DEMONSTRATED IRREPARABLE .......................................28


      A. Plaintiffs Have Not Demonstrated They Will Suffer Irreparable Harm if the Timeframe
      Rule is not Stayed Pending Resolution of this Action ......................................................................30

                                                                              ii
               Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 4 of 39




        B. Plaintiffs Have Not Demonstrated They Will Suffer Irreparable Harm if the Broader EAD
        Rule is not Stayed Pending Resolution of this Action ......................................................................30


    III. THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST WEIGH IN FAVOR
    OF THE DEFENDANTS .......................................................................................................................32


    IV. ANY RELIEF SHOULD BE NARROW AND LIMITED TO THE PLAINTIFFS..........34


CONCLUSION ...............................................................................................................................................35




                                                                            iii
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 5 of 39




                                         INTRODUCTION

        To be granted asylum in the United States, an individual must establish that she has

experienced persecution or has a well-founded fear of future persecution on account of one of the

five protected grounds: race, religion, nationality, membership in a particular social group, or political

opinion. Only a small fraction of asylum applicants is eventually granted status. Once an individual is

granted asylum, that person is automatically permitted to work incident to status as an asylee. 8 U.S.C.

§ 1158(c)(1). While an individual’s application for asylum is pending, there is no right to work. 8 U.S.C.

§ 1158(d)(2) (“[a]n applicant for asylum is not entitled to employment authorization.”) Although

Congress did not provide asylum applicants the right to work, it did grant the Department of

Homeland Security (DHS) the discretionary authority to provide for such authorization. Congress

limited DHS’s authority in one important way, however: “An applicant who is not otherwise eligible

for employment authorization shall not be granted work authorization prior to 180 days after the date

of filing of the application for asylum.” 8 U.S.C. § 1158(d)(2).

        This case challenges two rules recently promulgated by DHS, after periods of notice and

comment, related to employment authorization to individuals who have applied for, but have not yet

been granted, asylum. The first rule, referred to herein as the “Timeframe Rule” repeals a rule that

was promulgated over 20 years ago that required DHS to grant or deny applications for employment

authorization to asylum seekers within 30 days of submission to ensure U.S. Citizenship and

Immigration Services (USCIS) has sufficient time to receive, screen, and process the EAD

applications. The second rule, referred to herein as the “Broader EAD Rule,” modifies regulations

governing asylum applications, interviews, and eligibility for employment authorization based on a

pending asylum application in order to address the national emergency and humanitarian crisis at the
                                                    1
           Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 6 of 39




border. Both rules were promulgated in accordance with the Administrative Procedure Act (APA)

after a 60-day notice and comment period and careful consideration of the problem and facts at issue.

DHS articulated a satisfactory explanation for the promulgation of both final rules. For the reasons

addressed below, plaintiffs’ motion for a preliminary injunction should be denied.

                     STATUTORY AND REGULATORY FRAMEWORK

    A.      Statutory Framework for Employment Authorization for Asylum Seekers

         Section 103(a) of the Immigration and Nationality Act (INA) 8 U.S.C. 1103(a), authorizes the

Secretary of Homeland Security to administer and enforce the immigration and nationality laws and

to establish such regulations as deemed necessary for carrying out such authority. The current statutory

framework was adopted in 1996 with the passage of the Illegal Immigration Reform and Immigration

Responsibility Act (IIRIRA), which states that an applicant for asylum is “not entitled to employment

authorization,” and may not be granted an employment authorization document (EAD) based on a

pending asylum application prior to 180 days after filing of the asylum application. 8 U.S.C. 1158(d)(2).

The statute leaves to the discretion of the Secretary to otherwise prescribe by regulation the terms and

conditions of employment authorization for asylum applicants. The regulatory regime surrounding

employment authorization for asylum applicants that was subsequently established is briefly outlined

in the following section, as well as the regulatory changes made in the two challenged rulemakings.

    B.      Regulatory Framework Related to Employment Authorization Applications Filed
            by Asylum Applicants

         The Refugee Act of 1980 established the current asylum and refugee system. In the years

following the Refugee Act’s enactment, the number of asylum applications steadily increased and the

United States saw a steady rise in illegal immigration. 85 Fed. Reg. 38532 at 38544. A contributing

                                                   2
             Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 7 of 39




factor to these increases was regulations that provided individuals with employment authorization

based on pending asylum application, thereby incentivizing the filing of non-meritorious asylum claims

or other forms of relief for the purpose of obtaining employment authorization. Id. at 38544.

Specifically, the implementing regulations for IRCA provided that aliens could receive an interim EAD

if INS did not adjudicate the application for employment authorization within 60 days (former 8 CFR

274a.12(c) and (d)). 1 In 1990, the INS promulgated a regulation providing interim EADs to any alien

who had filed a non-frivolous asylum application, and allowed for renewal of employment

authorization for the time needed to adjudicate the asylum application (former 8 CFR 208.7(a)). Id. at

38544.

         In 1994, as part of a series of reforms to the overall asylum process, the Department of Justice

(DOJ) made regulatory amendments to streamline the adjudication process for asylum applications

submitted to the INS and to separate asylum adjudications from the employment authorization

process. 59 Fed. Reg. 62284, 62290 (Dec. 5, 1994). The purpose of the rule was to ‘‘discourage

applicants from filing meritless [asylum] claims solely as a means to obtain employment authorization,’’

so that asylum officers and IJs could ‘‘concentrate their efforts on approving meritorious claims.’’ Id.

In order to disincentivize the filing of meritless claims, the 1994 rule provided that applicants must

wait 150 days after the filing of a complete asylum application before becoming eligible to apply for

employment authorization rather than being immediately authorized with the filing of an asylum

application. Id. The 1994 rule also established a self-imposed 30-day timeframe for INS to adjudicate


1The 60-day period was subsequently extended to 90-days with the publication of the final rule, Powers and Duties of
Service Officers; Availability of Service Records, Control of Employment of Aliens, 56 Fed. Reg. 41767-01 (Aug. 23, 1991).


                                                               3
            Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 8 of 39




such EAD applications. 2 Id. at 62289-90 (Dec. 5, 1994), codified at 8 C.F.R. § 208.7 (1994). The 180-

day time frame for EAD eligibility was codified by Congress in IIRIRA in 1996.

         The current regulatory regime provides that asylum applicants filing after January 4, 1995, will

be granted employment authorization if several criteria are met. 8 CFR 208.7. Over time, given the

growing backlog and delays in asylum adjudication that can extend from months into years, it became

clear that these asylum reform-era regulations were insufficient to disincentivize non-meritorious

asylum applications for the purpose of seeking employment authorization, thereby necessitating (in

part) the challenged rulemakings that update this regulatory scheme.

    C.       Development and Publication of the Final 30 Day-Time Frame Removal Rule
             (“Final Timeframe Rule”)

         In the Spring of 2018, DHS provided public notice of its intent to amend the 30-day regulatory

timeframe to adjudicate EAD applications by asylum seekers. 3 On September 9, 2019, USCIS

proposed to amend the 30-day regulatory timeframe. 84 Fed. Reg. 47148 (“Proposed Timeframe

Rule”). During a 60-day comment period, DHS received over 3,200 comments. After review and

analysis of public comments, it published the Final Timeframe Rule on June 22, 2020, keeping all

material respects from the Proposed Timeframe Rule. 85 Fed. Reg. 37502.

         DHS provided multiple reasons for promulgating the Proposed and Final Timeframe Rule.

Specifically, the 30-day timeframe in 8 CFR 208.7(a)(1) was established more than 20 years ago when

INS adjudicated EAD applications at local INS offices. Id. The 30-day timeframe does not account


2The 180-day time frame was based on processing time frame goals that DOJ had set for asylum officers and
immigration judges to adjudicate asylum cases that appeared reasonable at that time, when the volume of cases was
substantially lower. Current adjudication time is often beyond two years. 85 Fed. Reg. at 38563.
3See Office of Information and Regulatory Affairs’ Spring 2018 Unified Agenda, available at
https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=201804&RIN=1615-AC19.
                                                          4
              Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 9 of 39




for the current volume of applications and no longer reflects current operational realities. Id. at 37507-

08. Increases in EAD applications have outpaced USCIS’ resources over the last 20 years. Id. at 37508.

The level of fraud sophistication and national security concerns posed today are more complex than

they were 20 years ago. Lastly, changes in intake and document production to reduce fraud and address

threats to national security, as well as the time necessary for appropriate vetting to address such

concerns, are not reflected in the current regulatory timeframe. 85 Fed. Reg. 37518. Thus, DHS

proposed and finalized its rule to remove this temporal limitation.

           Additionally, on May 22, 2015, plaintiffs in Rosario v. USCIS, No. C15-0813JLR (W.D. Wash.),

brought a class action in the U.S. District Court for the Western District of Washington to compel

USCIS to comply with the 30-day provision of 8 CFR 208.7(a)(1). On July 26, 2018, the court enjoined

USCIS from failing to adhere to the 30-day deadline for adjudicating EAD applications. Compliance

with the court order places an extraordinary strain on already strained agency resources. Id. at 37510. 4

           DHS thoughtfully responded to the comments received. USCIS stated in the Final Timeframe

Rule that it believed 5 that under the new rule, adjudications will align with DHS processing times

achieved in FY 2017. Id. at 37503. Pre-Rosario, USCIS adjudicated approximately 78 percent of

applications within 60 days. Id. The change was intended to ensure USCIS has sufficient time to

receive, screen, and process requests for asylum application-based employment authorization and to

reduce fraud. 85 Fed. Reg. at 37502.



4USCIS has moved the Court to vacate the court’s injunction “as of the effective date of the amendment to 8 C.F.R. §
208.7(a)(1), and has advised the court of this litigation.
5   This assumption does not take into account any delays related to COVID-19. See 85 Fed. Reg. 37502 at 37503.


                                                            5
           Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 10 of 39




    D.       Development and Publication of the Final Rule on Asylum Application,
             Interview, and Employment Authorization (“Broader EAD Final Rule”)

         In the Fall of 2018, DHS provided public notice of its intent to modify regulations governing

employment authorization for asylum applicants. 6 The following spring, on April 29, 2019, the White

House issued a “Presidential Memorandum on Additional Measures to Enhance Border Security and

Restore Integrity to Our Immigration System,” which, among other things, directed the Secretary of

Homeland Security to propose regulations to bar aliens who entered or attempted to enter the U.S.

unlawfully from receiving employment authorization prior to adjudication of their asylum application

and immediately revoke employment authorization of those aliens denied asylum or ordered removed.

See 2019 Daily Comp. Pres. Doc. 251 (Apr. 29, 2019). The PM stated that the “strategic exploitation

of our Nation’s humanitarian programs undermines our Nation’s security and sovereignty and noted

that “[t]he purpose of [the] memorandum is to strengthen asylum procedures to safeguard our system

against rampant abuse of our asylum process.” Id.

         On November 14, 2019, DHS published a notice of proposed rulemaking, with a 60-day

comment period. See 84 Fed. Reg. 62374 (“Broader EAD NPRM”). The NPRM proposed to modify

regulations governing asylum applications, interviews, and eligibility for employment authorization

based on a pending asylum application in order to, inter alia, address the national emergency and

humanitarian crisis at the border. On January 13, 2020, the Broader EAD NPRM comment period

closed. DHS received 1,074 comment submissions. On June 26, 2020, after careful consideration of



6 See Office of Information and Regulatory Affairs’ Fall 2018 Unified Agenda, available at
https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=201810&RIN=1615-AC27 (“The Department of
Homeland Security (DHS) plans to propose regulatory amendments intended to promote greater accountability in the
application process for requesting employment authorization and to deter the fraudulent filing of asylum applications for
the purpose of obtaining Employment Authorization Documents (EADs).”).
                                                           6
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 11 of 39




the public comments, DHS published the Final Rule, addressing comments, making numerous

revisions to the proposed rule based on public comments, and providing a reasoned, detailed analysis

in support of its decisions. 85 Fed. Reg. 38532.

        The Broader EAD NPRM and Final Rule’s objectives to address the national emergency and

humanitarian crisis at the border are multi-fold. The overarching impetus of the rule is to mitigate

ongoing harms to asylum seekers caused by waves of economic migrants abusing and taxing the

asylum system. See e.g., 85 Fed. Reg at 38544. DHS crafted the regulation to disincentivize illegal entry

into the United States, as well as reduce incentives for aliens to file frivolous, fraudulent, or otherwise

non-meritorious asylum applications in order to obtain employment authorization. Id. at 38533. The

rule seeks to address the asylum application backlog, which has grown at an unprecedented rate

beginning in 2016, and has hindered efficient receipt, processing and timely adjudication of asylum

applications in recent years. Id. at 38545. DHS also sought to increase efficiencies in the asylum EAD

adjudication process generally. Id. at 38533. The rule strives to reduce incentives for applicants to delay

asylum proceedings to extend their period of employment authorization. Id. Some of the major

provisions contained in the NPRM that were altered, modified, and/or accepted in the Final Rule are

discussed below.

        First, in order to remove incentives for individuals to file asylum applications as a means to

secure employment authorization, and to streamline the EAD adjudication process, the Broader EAD

NPRM proposed to extend the time period applicants must wait to be eligible to be granted an EAD

following the filing of an asylum application from 180 days, not including delays caused or requested

by the applicant, to 365 calendar days. 84 Fed. Reg. 62374 at 62388-89. In other words, DHS proposed


                                                    7
            Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 12 of 39




to no longer use the 180-Day Asylum EAD Clock 7 and instead, deny EAD applications if there is an

unresolved applicant-caused delay at the time the EAD application was adjudicated by the agency.

After careful consideration of comments, DHS amended the Broader EAD Final Rule so that an EAD

application would be denied if the asylum case was subject to an applicant-caused delay at the time

the EAD application is filed, rather than date of adjudication. 85 Fed. Reg. 38532 at 38537-38.

          Second, as part of the efforts to reform the asylum system, reduce the asylum backlog,

incentivize bona fide asylum applicants to file sooner, and discourage aliens from filing skeletal,

frivolous, and fraudulent asylum applications, the Broader EAD NPRM proposed to exclude from

EAD eligibility aliens who failed to file for asylum within one year of the date of their last arrival in

the U.S. as required by statute, unless and until an asylum officer or immigration judge determined a

statutory exception or if the applicant was an unaccompanied alien child (UAC). 84 Fed. Reg. 62374

at 62390. In response to the concerns raised by commenters regarding retroactive application, DHS

narrowed application of this provision to only aliens who filed their underlying asylum application on

or after August 25, 2020 effective date. 85 Fed. Reg. 38532 at 38537.

          Third, in the Broader EAD NPRM, DHS proposed to bar aliens from EAD eligibility if they

entered or attempted to enter the U.S. at a place and time other than lawfully through a U.S. port of

entry, with limited exceptions for good cause. The good cause exception was clarified in the Final Rule

based upon comments received. 84 Fed. Reg. 62374 at 62392; 85 Fed. Reg. 38532 at 385537. Further,

DHS modified the effective date for this provision such that EAD eligibility is only curtailed if an

alien’s illegal entry or attempted entry occurs after August 25, 2020. Id. at 38537.


7 See EOIR-USCIS joint notice, The 180-day Asylum EAD Clock Notice,
https://www.uscis.gov/sites/default/files/Asylum_Clock_Joint_Notice_-_revised_06-08-2018.pdf (last updated June 8, 2018).
                                                                8
             Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 13 of 39




         Fourth, The Broader EAD NPRM proposed to extend EAD ineligibility to a wider range of

criminal behavior. DHS received public comments that criticized the agency for creating an EAD

criminal bar scheme that deviated from bars to asylum. In the Broader EAD Final Rule, DHS

discarded its proposed criminal bars in their entirety and instead aligned the EAD criminal bars to

those enumerated in the joint DOJ/DHS Asylum Bars Rule as well as existing statutory criminal bars

to asylum. 85 Fed. Reg. 38532 at 38537. The Asylum Bars Final Rule has not been published and made

effective.

         Finally, DHS carefully analyzed commenters’ concerns about the NPRM’s retroactive

application to employment authorization applications pending prior to the effective date and

determined to only apply the final rule’s provisions to those EAD applications filed after the final

rule’s August 25, 2020, effective date. As a result, all initial and renewal EAD applications filed by

asylum applicants pending prior to the effective date of the final rule are exempt from the rule’s

provisions.

    E.        Federal Vacancies Reform Act and the Appointment of Chad Wolf as Acting
              Secretary of Homeland Security

         In 1998, Congress enacted the Federal Vacancies Reform Act (“FVRA”), 5 U.S.C. §§ 3345-

3349d, to govern the designation of acting officials to perform the duties of a Senate-confirmed

executive office when the incumbent officer “dies, resigns, or is otherwise unable to perform the

functions and duties of the office.” Id. § 3345(a). “[T]he person serving as an acting officer” under the

FVRA may serve “for no longer than 210 days beginning on the date the vacancy occurs,” subject to

extensions while a nomination is under consideration, rejected, withdrawn, or returned by the Senate.

Id. § 3346(a). In the National Defense Authorization Act for Fiscal Year 2017, Congress added section

                                                   9
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 14 of 39




113(g)(2) to the Homeland Security Act (title 6 United States Code), which states, “Notwithstanding

chapter 33 of Title 5, the Secretary may designate such other officers of the Department in further

order of succession to serve as Acting Secretary.”

         For an accurate statement of the authority supporting Chad Wolf’s appointment as Acting

Secretary of Homeland Security, the Court is referred to the Declarations of Juliana Blackwell,

Deputy Executive Secretary, within the Office of the Executive Secretary, DHS (Blackwell Decl.),

and Neal J. Swartz, Associate General Counsel for DHS (Swartz Decl), annexed hereto.

                                         LEGAL STANDARD

         Injunctive relief is “an extraordinary remedy that may only be awarded upon a clear showing

that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008).

To obtain a preliminary injunction, moving parties must establish that (1) they are likely to succeed on

the merits; (2) they are likely to suffer irreparable harm in the absence of preliminary relief; (3) the

balance of equities tips in their favor; and (4) an injunction is in the public interest. Id. at 20. “[C]ourts

considering whether to impose preliminary injunctions must separately consider each Winter factor.”

Pashby v. Delia, 709 F.3d 307, 321 (4th Cir. 2013).

                                              ARGUMENT

  I.        PLAINTIFFS CANNOT ESTABLISH A LIKELIHOOD OF SUCCESS ON
            THE MERITS

    A.      APA Review of Final Agency Rules

         An agency final rule may only be set aside if the rule is found to be “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). When an agency

intends to establish a binding legislative rule, it must have statutory authority to do so and follow the

                                                      10
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 15 of 39




notice-and-comment procedures for “informal rulemaking” under the APA. See 5 U.S.C. § 553(b);

Chrysler Corp. v. Brown, 441 U.S. 281, 301-20 (1979). Informal rulemaking requires an agency to place

notice of proposed rulemakings in the Federal Register, solicit comments on a rulemaking docket, and

respond to significant comments along with the final rule containing a concise statement of the rule’s

basis and purpose in the Federal Register. 5 U.S.C. § 553(b)-(c); Little Sisters of the Poor v. Pennsylvania,

591 U.S. __, 207 L.Ed.2d 819, 840 (2020). The Court may not impose procedural requirements beyond

what the APA or the enabling act requires. Id. (“we have repeatedly rejected courts’ attempts to impose

‘judge-made procedur[es]’ in addition to the APA mandates.”). Courts routinely presume that

government officials ‘“have properly discharged their official duties.’” Almy v. Sebelius, 679 F.3d 297,

309 (4th Cir. 2012) (quoting United States v. Chem. Found. Inc., 272 U.S. 1, 14-15 (1926)); Shieldalloy

Metallurgical Corp. v. NRC, 707 F.3d 371, 388 (D.C. Cir. 2013) (agency action is entitled to a

presumption of regularity).

        An agency rule is “arbitrary or capricious” if the agency: (1) relied on factors which Congress

has not intended it to consider; (2) entirely failed to consider an important aspect of the problem; (3)

offered an explanation for its decision that runs counter to the evidence before the agency; or, (4)

offered an explanation so implausible that it could not be ascribed to a difference in view or the

product of agency expertise. Motor Vehicle Manufacturers Ass’n v. State Farm Mutual Automobile Insurance

Co., 463 U.S. 29, 43 (1983). Review under the “arbitrary and capricious” standard is “searching and

careful,” but “narrow.” Marsh v. Or. Natural Res. Council, 490 U.S. 360, 377-78 (1989); see also Citizens to

Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971). The ultimate question under this narrow

standard of review is whether the agency’s action was reasonable. FCC v. Fox Television Stations, 556

U.S. 502, 514-15 (2009). Courts should uphold a “decision [of] less than ideal clarity… if the agency’s
                                                11
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 16 of 39




path may reasonably be discerned.” Alaska Dep’t of Envtl. Conservation v. EPA, 540 U.S. 461, 497 (2004).

In cases like this one, which does not concern a statutory gap but rather the express grant of authority

to prescribe rules and standards, the agency’s “judgment [is owed] more than mere deference of

weight,” and courts give the agency interpretation controlling weigh unless [it is] arbitrary, capricious,

or manifestly contrary to the statute.” Lindeen v. Securities and Exchange Commission, 825 F.3d 646, 656

(D.C. Cir. 2016); see City of Los Angeles v. Barr, 929 F.3d 1163, 1177 (9th Cir. 2019) (in such

circumstances “agency’s promulgations are entitled to more than mere deference or weight; rather,

they are entitled to legislative effect”).

    B.      The Final Timeframe Rule Was Promulgated Pursuant to Proper Procedure,
            Reflects Reasoned Decision-making, and is Not Arbitrary or Capricious

         Plaintiffs allege that the Timeframe Rule should be stayed, arguing that: (i) it was improperly

considered separately from the Broader EAD Rules; (ii) DHS failed to consider the harms to bona

fide asylum seekers; (iii) DHS failed to properly explain why a defined timeline was not included; and

(iv) DHS failed to properly explain why it will no longer prioritize deciding initial EAD applications

filed by asylum applicants. Plaintiffs are unable to establish the likelihood of success on the merits

with respect to any of these grounds. The Timeframe Rule was promulgated after a 60-day notice of

comment period, is consistent with Congressional delegated authority, and is rational in all respects.

                      i. The Final Timeframe Rule Was Properly Considered With the Broader
                         Eligibility Requirements

         Plaintiffs’ argue that DHS was required to consider the Timeframe Rule and the Broader

EAD Rules together in one rulemaking process, and that the Agency’s refusal to do so violated the

APA in three ways: by (1) depriving the public of a meaningful opportunity to comment on relevant

and important issues; (2) failing to identify and respond to relevant, significant issues raised, to the
                                                  12
         Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 17 of 39




extent the public did comment on the interaction of the two rules; and (3) failing to consider important

aspects of the problem. See Plaintiffs’ Memorandum of Law (PI Motion) at 11-17.

        It was wholly rational for the agency to initiate two separate notice and comment periods for

two rules that were promulgated for different purposes, and doing so did not deprive the public with

a meaningful opportunity to comment. The purpose of the Timeframe Rule is to ensure USCIS has

sufficient time to receive, screen, and process the EAD applications. 85 Fed. Reg. 37502, 37502-37503.

In contrast, the Broader EAD Rule is intended to modify regulations governing asylum applications,

interviews, and eligibility for asylum application-based employment authorization in order to address

the national emergency and humanitarian crisis at the border. 85 Fed. Reg. 38532, 38543.

        Each NPRM informed the public about the existence of the other, and did not prohibit the

public from providing comment on the impact one rule may have on another. See 84 Fed. Reg. 47148;

Fed. Reg. 62374-75. In fact, the Timeframe NPRM itself addressed the possibility of some impacts of

the Broader EAD Rules. 84 Fed. Reg. 47148 at 47150. (“USCIS recognizes that the impacts of this

proposed rule could be overstated if the provisions in the broader asylum EAD NPRM are finalized

as proposed.”). Approximately 10 submission were received that provided comments on the Broader

EAD propose rules. The Agency considered and responded to these comments and provided a

rational explanation as to why the comments were deemed to be out of scope. Moreover, the Agency

responded to the substance of the comments and rationally explained why the Broader EAD NPRM,

if promulgated, was not material to whether or not the Timeframe Rule should be promulgated. See

85 Fed. Reg. 37502 at 37530-31 (“USCIS disagrees with the comment claim based on a reduction of

EADs under the broad rule because of increased ineligibility. USCIS would still receive many EAD

filings, although it is possible that more applications may not be approved due to the additional and/or
                                                     13
         Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 18 of 39




modified eligibility criteria proposed. In reality, because of the added criteria under the broader

proposed rule, adjudication may become more complex.”). The Agency further considered and

discussed the impact that the Broader EAD Rules, if promulgated, could have on its analysis. See 85

Fed. Reg. 37502 at 37504. (“USCIS recognizes that the impacts of this final rule could be overstated

if the provisions of…the broader asylum EAD NPRM would limit or delay eligibility for employment

authorization for certain asylum applicants. Accordingly, if the population of aliens is less than

estimated as a result of the broader asylum EAD rule, the estimated impacts of this rule could be

overstated because the population affected may be lower than estimated in this rule.”).

        Thus, contrary to plaintiffs’ assertion, the public was not prevented from providing comment

on the interaction between the two proposed rules, DHS considered these comments, recognized the

impacts that the Broader EAD Rule may have if promulgated, and then rationally concluded that

possibility of the Broader EAD being finalized did not alter the result with respect to the Timeframe

Rule. This is all the APA requires.

        The cases relied upon by plaintiffs are distinguishable in material ways. In United Farm Workers,

for example, the Agency sought a 10-day notice and comment period seeking to revoke a 2008

regulation and reinstate the earlier 1987 regulation. 702 F.3d 755, 769 (4th Cir. 2012). Because the two

regulations had already gone through the notice and comment process, and because the Agency

expressed a need for expediency, the Agency solicited comments solely with respect to whether the

2008 regulation should be suspended, and explained that it would not consider comments concerning

the substance or merits of the 2008 or 1987 regulation. It was in this context that the Court found

that the Agency had violated the APA’s notice and comment requirements. The Court noted that the

purpose of the suspension was due to difficulties in operating the program at issue under the 2008
                                                14
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 19 of 39




regulations, “including a lack of resources, inability to implement operations, and processing delays.”

Id at 770. Based upon this purpose, the Court concluded that it was necessary for the agency to

consider whether “the 2008 regulations was more or less efficient than the review process provided

in the 1987 regulations,” since the 1987 regulations would replace the 2008 regulation is repealed. Id.

Similarly, California v. United States DOI, 381 F. Supp. 3d 1153, 1174 (N.D. Cal. 2019) considered an

Agency’s two separate rulemaking processes used to repeal an existing rule and to replace that same

rule. In contrast to those facts, the two rules at issue in this case are not alternatives to one another,

nor were they promulgated for the same purpose. This is an important distinction. Nor was the public

directed to withhold any comments concerning any interaction between the two rules. And perhaps

most importantly, DHS did consider, address, and explain the impact that the promulgation of the

Broader EAD NPRM could have on the Timeframe Rule. None of these facts were present in United

Farm Workers or California.

         Plaintiffs also cite to Bedford Cnty. Mem’l Hosp. v. Health & Human Servs., 769 F.2d 1017, 1020

(4th Cir. 1985) for the proposition that an agency must identify and respond to relevant, significant

issues raised. As addressed above, DHS did just that here. Finally, plaintiffs’ citation to Office of Commc’n

of United Church of Christ v. FCC, 707 F.2d 1413, 1440 (1983) is misplaced largely because that regulatory

scheme was so different in kind from the regulatory scheme here. There, the Court was faced with the

FCC’s decision to deregulate an industry in the face of a Congressional mandate requiring the FCC to

regulate the industry “in the public interest.” Id. at 1420. Here, in contrast, Congress expressly

provided that no right to employment authorization exists and left it to the discretion of DHS to

determine if and how such authorization should be afforded. Moreover, when the Court in United

Church of Christ referred to a concurrent rulemaking process, it did not hold, or even suggest, that the
                                                     15
         Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 20 of 39




FCC was required to proceed in one notice and comment period. Instead, it held that the FCC was

required to “give sufficient consideration” to the proposed rules in the concurrent rulemaking

proceeding. This is exactly what DHS did here.

                   ii. The Final Timeframe Rules Properly Considered the Harms to Bona
                       Fide Asylum Seekers

        Plaintiffs next argue that DHS failed to account for harms that the Timeframe Rule may

inflict upon bona fide asylum seekers. See PI Motion at 17-20. Plaintiffs are incorrect. DHS expressly

acknowledged the numerous comments stating, “asylum seekers would lose wages and benefits as a

result of delayed entry into the U.S. labor force, which will cause an outsized, devastating amount of

harm to this already-vulnerable community.” 85 Fed. Reg. 37502 at 37526. In response to these

concerns, DHS acknowledged that the Rule may delay an applicant’s entry into the workforce if the

application requires more than 30 days to process, and that during any period of delay, the applicant’s

support network would be required to provide additional assistance. Id. In addressing these concerns,

DHS explained its expectation that processing times would be similar to the FY 2017 pre-Rosario

processing times, such that the Rule could potentially result in an average delay of 31 calendar days.

Id.; see also 85 Fed Reg 37503 (“In FY 2017, prior to the Rosario v. USCIS court order…the adjudication

processing times…exceeded the regulatory-set timeframe of 30 days more than half the time.

However, USCIS adjudicated approximately 78 percent of applications within 60 days.”). Thus, it

cannot be said that DHS failed to consider and balance this anticipated harm with the needs to provide

for an increase in processing time for some applications when necessary. In addition to the harms to

bona fide asylum seekers, DHS also addressed costs related to socioeconomic factors and impacts. 85

Fed. Reg. 37502 at 37527-28. This is all the APA requires.

                                                  16
         Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 21 of 39




                  iii. DHS Properly Explained Why a Defined Timeframe Was Not
                       Included

       Plaintiffs allege that DHS acted in an arbitrary and capricious manner by failing to explain why

it did not impose any deadline on itself to adjudicate EAD applications. In doing so, plaintiffs argue

that DHS “relied on a legally illegitimate explanation for this action: the desire to be free of any

accountability.” See PI Motion at 23. Here, contrary to the fact found in Action on Smoking & Health v.

Civil Aeronautics Bd., 699 F.2d 1209, 1217 (1983), which plaintiffs rely upon, DHS carefully analyzed

the data, considered alternatives, balanced the competing interests, and provided a detailed rational

explanation for the final rule. First, USCIS acknowledged the importance of accountability:

       USCIS acknowledges the importance of accountability and continuously seeks to
       improve and streamline work processes to improve efficiency and provide accurate
       and timely adjudicative decisions. As with any adjudication, USCIS posts processing
       times for these applications so that applicants can understand what to expect.
       Applicants have avenues to address excessive delays through case status inquiries,
       expedite requests when circumstances warrant, and even judicial redress through filing
       a mandamus action to compel a decision. Removing the 30-day timeframe does not
       absolve USCIS of its responsibility to adjudicate applications as quickly and efficiently
       as possible but does reconcile changes in processing requirements for vetting as well
       as increasing application volume.

85 Fed. Reg. 37502 at 37511.

       Second, DHS explicitly considered alternative timeframes of 45, 60, or 90 days. 85 Fed. Reg.

37502, 37513, 37521. The Agency provided a detailed and reasoned explanation as to the why an

alternative timeframe was not adopted:

       USCIS determined not to incorporate a new regulatory timeframe because USCIS is
       unable to plan its workload and staffing needs with the level of certainty that a binding
       timeframe may require, and has no way of predicting what national security and fraud
       concerns may be or what procedures will be necessary in the future….
       The processing of EAD applications is not simple, and increases in asylum-based
       filings in recent years, coupled with the changes to intake and vetting procedures, have
       placed a great strain on agency resources that lead to an increased processing time.
                                                   17
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 22 of 39




        DHS recognizes that removing the timeframe may cause concern to applicants
        regarding potential delays in adjudication; however, USCIS expects to return to the
        adjudicatory timeframe before Rosario…

85 Fed. Reg. 37502 at 37521. It was further explained that:

        DHS has seen a drastic increase in asylum applications in recent years, and this increase
        was not anticipated, and therefore could not have been considered when the former
        INS promulgated the 30-day timeframe more than 20 years ago. To promulgate
        another timeframe could lead to similar results and delays should volumes increase
        further in the future.

Id. at 37513.

        Thus, contrary to plaintiffs’ characterization that DHS simply pointed “to a need for

flexibility,” it did much more than that. In addition to the above discussion, DHS detailed how the

asylum process has changed since the current self-imposed 30-day rule was promulgated more than

20 years ago. Id. at 37509. DHS explained, for example, how fraud has become more sophisticated

over the last 20 years. Id. at 37516. This, combined with maintaining appropriate vetting while

processing historically high numbers of applications, resulted in DHS concluding that the current 30-

day timeframe untenable without diverting significant resources from other benefit request types. Id.

at 37518. As such, there can be no dispute that DHS complied with the APA by articulating a

satisfactory explanation.

                   iv. DHS Properly Explained Why It is Removing the 30-day Processing
                       Requirement

        Plaintiffs next argue that DHS failed to “reasonably explain its departure from its prior

position that it should decide initial EAD applications from asylum applicants within 30 days,” given

that “it had previously decided that initial asylum-applicant EADs should be treated differently

because they are situated differently.” See PI Motion at 24. To be clear, there is nothing impermissible

                                                   18
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 23 of 39




with an agency changing its mind because of a change of administrations, change of facts, or other

factors. See Nat’l Cable & Telecomm. Ass’n v. Brand X Internet Servs., Inc., 545 U.S. 967 (2005); see also

Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016); Mayo Found. v. United States, 562 U.S.

44, 53-55 (2011). Moreover, an agency is not required to justify its policy change by reasons more

substantial than those required to adopt a policy in the first instance. See Fox Television Stations, 556

U.S. 502, 514-15, 19 (2009).

        As addressed above, there can be no dispute that a thorough and detailed explanation was

provided as to why the previously self-imposed 30-day timeframe needed to be altered. Instead,

plaintiffs’ assert more specifically that DHS did not sufficiently address the distinction between

employment-based EADs and those for asylum applicants. Plaintiffs are mistaken and mischaracterize

the issue as one of prioritization. DHS explained:

        DHS recognizes that AC21 8 related to employment-based applications do not
        necessarily involve the same humanitarian considerations. However, DHS also notes
        that though AC21 was primarily focused on employment-based immigration, it did
        provide for automatic extension of EADs for those who have properly filed asylum
        applications. See 8 CFR 274a.13(d)(1). The purpose of the discussion referenced by the
        commenter is to make clear why DHS rejected the option of changing the 30-day
        asylum applicant EAD processing timeframe to 90 days. As DHS wrote in the
        proposed rule, maintaining any adjudication timeframe for this EAD would
        unnecessarily constrict adjudication workflows. Ultimately, USCIS is unable to plan its
        workload and staffing needs with the level of certainty that a binding timeframe may
        require, and has no way of predicting what national security and fraud concerns may
        be or what procedures would be necessary in the future.




8AC21 refers to the regulation governing employment-based immigrant and nonimmigrant visa programs. See 81 Fed.
Reg. 82398.
                                                       19
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 24 of 39




Fed. Reg. 37502 at 37513. Thus, while over 20-years ago, it was believed that EAD applications for

asylum seekers could be adjudicated in 30-days, history has proven this assumption incorrect. Thus,

DHS rationally removed the 30-day processing provision in accordance with the APA.

    C.          The Final Broader EAD Rule Was Promulgated Pursuant to Proper Procedure,
                Reflects Reasoned Decision-making, and is Not Arbitrary or Capricious

         Plaintiffs allege that the Broader EAD Rule should be stayed, arguing that: (i) it was improperly

considered separately from the Timeframe Rule; (ii) DHS failed to consider the harms to bona fide

asylum seekers; and (iii) DHS failed to establish the problem it purported to address. Plaintiffs are

unable to establish the likelihood of success on the merits with respect to any of these grounds.

Instead, the Broader EAD Rule was promulgated after a notice of comment period, is consistent with

Congressional delegated authority, and is rational in all respects.

           i.      The Final Broader EAD Rule Was Properly Considered With the Timeframe
                   Rule

         For all the same reasons as addressed above, it was rational and proper for the Agency to

proceed through two separate notice and comment procedures given that the two Rules had different

purposes. With respect to the Broader EAD Rule specifically, plaintiffs assert that whether USCIS

“would take 30 days or an unregulated amount of time to adjudicate an application…was ‘relevant

and important’ to the Broader EAD Rule. See PI Motion at 11-12. As was anticipated for the

Timeframe Rule, the Broader Rule considered and addressed the anticipated adjudication times for

EAD applications indicating that it would be similar, despite the regulatory changes. See 85 Fed. Reg.

38532 at 38566-89 (“From 2017 to 2020, over 80 percent of (c)(8) EADs were processed within 60

days. . . Although there is nothing in this rule that specifically will drive the EAD processing times

significantly higher, on average, it is possible that some applications could take longer to process, as
                                                    20
         Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 25 of 39




some of the conditions in the rule could require more resources and add complexity to adjudicative

review.”), and id. at 38612 (noting that USCIS estimates that in the future, after implementation of

these rules, the processing time for EADs based on a pending asylum application will be approximately

69 days.). And as addressed more fully below, DHS acknowledged that work authorization for some

bona fide asylum seekers would be delayed as a result of the Rule, but ultimately concluded that the

benefits outweighed any such harm. Finally, as further evidence that DHS considered any overlap of

between the two rules is DHS’s creation of a carve out for Rosario class members. See 85 Fed. Reg.

38532 at 38534 at n.5. As such, there was no APA violation.

         ii.   The Final Broader EAD Rules Properly Considered the Harms to Bona Fide
               Asylum Seekers

       Contrary to plaintiffs’ argument, the Final Broader EAD Rule properly considered harms to

bona fide asylum seekers. In fact, consistent with the 1994 rulemaking, see 85 Fed. Reg. 38532 at 38561

n. 102, the primary impetus of the Broader EAD Rule is to mitigate ongoing harm to bona fide asylum

seekers and provide more immediate protection to bona fide asylum seekers. See e.g. 85 Fed. Reg.

38532 at 38543, 44, 54, 56, 58, 61, 84. For example, it was explained:

       DHS remains committed to finding options to curb abuse of the asylum system while
       prioritizing bona fide asylum seekers. DHS has considered alternatives, including
       taking no action, rescinding its regulation conferring employment authorization to all
       asylum seekers, hiring more staff, and accepting forms electronically. In addition to
       this rulemaking, DHS has undertaken a range of initiatives to address the asylum
       adjudication backlog and mitigate its consequences for bona fide asylum seekers,
       agency operations, and the integrity of the asylum system. These efforts include: (1)
       Revised scheduling priorities including changing from First in First out (“FIFO”)
       order processing to LIFO; (2) staffing increases and retention initiatives; (3) acquiring
       new asylum division facilities; (4) assigning refugee officers to the Asylum Division;
       (5) conducting remote screenings; and (6) launching a pilot program for applicants
       seeking a route to immigration court to request cancellation of removal. USCIS already
       accepts several forms electronically, and is considering steps to accept the Form I-765
       electronically in the future. These efforts are a top priority for the agency.
                                                   21
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 26 of 39




Id. at 38584-38585.

        DHS expressly noted the considerable impact on asylum applicants and provided a detailed

and reasoned explanation as to why it nevertheless finalized the rule, including, inter alia:

        DHS recognizes that this rule may have a substantial impact on asylum applicants, but
        does not agree that a 365-day waiting period for employment authorization is overly
        burdensome, cruel, or precludes aliens from becoming self-sufficient. For at least 24
        years, the statutory and regulatory scheme set the expectation that asylum applicants
        must wait a minimum of 6 months, often much longer due to applicant-caused delays,
        before asylum applicants may apply for employment authorization. Therefore, it is not
        reasonable for asylum applicants to come to the United States with the expectation
        that they will be employment authorized immediately upon their arrival.

        … DHS believes that employment authorization must be carefully regulated, not only
        to protect U.S. workers, but also to maintain the integrity of the U.S. immigration
        system. DHS has identified (c)(8) employment authorization, with its low eligibility
        threshold and nearly limitless renewals, coupled with the lengthy adjudication and
        judicial processes, as a driver for economic migrants who are ineligible for lawful status
        in the United States to file frivolous, fraudulent, and otherwise non-meritorious asylum
        applications…. DHS acknowledges that the extended period for which aliens will not
        be employment authorized may impact their access to other services, but this is a
        temporary period. In the interim, access to some services can be mitigated by
        organizations that provide these services without charge….

        …Finally, DHS believes that the reforms made by this rule and recent procedural
        changes, like LIFO, will significantly reduce the number of filings solely for economic
        reasons, which in turn will ensure that bona fide asylum seekers have their claims
        decided in an expeditious manner…

Id. at 38565-38566.

        In assessing the harm, DHS notes that “the average affirmatively filed asylum application

completed by USCIS was decided in 166 days in 2018,” which leads to immediate employment

authorization for those the Agency grants asylum. 85 Fed. Reg. 38532 at 38608. In promulgating the

Broader EAD Rule, DHS “seeks to balance deterrence of those abusing the asylum process for

economic purposes and providing more timely protection to those who merit such protection, which
                                              22
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 27 of 39




includes immediate and automatic employment authorization when the asylum application is granted.”

Id. at 38585. Accordingly, it cannot be said that DHS failed to consider the impact on bona fide asylum

applicants, or failed to provide a reasoned explanation, for the final rule. While plaintiffs may disagree

with the ultimate result, such a disagreement does not violate the APA.

         iii.   The Final Broader EAD Rules Properly Established the Problem it Addresses

        Contrary to plaintiffs’ arguments, the final rule discussed previous efforts to reform the

asylum system, explained why further reform is necessary, and cited Congressional testimony,

agency statistics, secondary sources, and newspaper reporting to establish the problem the rule

addresses. See e.g., id. at 38544-46. Further, DHS responded to similar criticism in the final rule:

         DHS disagrees that this rule fails to state a sufficient rationale or lacks data to support
         the changes made by this rule. The data illustrate a clear picture of a longstanding,
         critical and growing crisis in the U.S. asylum system and the need for strengthened
         laws. Border enforcement resources, detention space, and adjudication capacity are
         far outpaced by the numbers of aliens illegally entering the United States and claiming
         asylum each year. Historical data indicate that only about twenty percent of these
         applicants are eligible for asylum. This rule, standing alone, is not intended to solve
         every aspect of the crisis in the asylum system. It is one of several measures that the
         Administration is combining to mitigate the crisis and ensure the integrity of the
         immigration system and security of our communities. According to CBP data from
         FY 2019, the level of aliens unlawfully attempting to cross the Southern border
         reached a twelve-year high and nearly doubled from the same period in the previous
         fiscal year. This increase demands that DHS respond to this crisis and strengthen and
         enforce our immigration laws. According to one DOJ–EOIR snapshot measuring
         eleven years of data, of the approximately 81% of USCIS credible fear referrals to IJs,
         only 17% of these aliens are granted asylum by an IJ. While approximately one third
         of adjudicated asylum applications stemming from a positive credible fear finding are
         granted, the commenter fails to acknowledge that about forty five percent of aliens
         with a positive credible fear finding fail to pursue their asylum claims and are therefore
         never adjudicated. According to another DOJ–EOIR snapshot, in FY 2019, DOJ–
         EOIR granted only 15.25 percent of asylum applications filed by aliens found to have
         a credible fear. Over the past five years, the average DOJ–EOIR asylum grant rate of
         cases originating with a credible fear claim is only 14.25 percent. This rule is designed
         to reduce the number of aliens who leave their home countries seeking economic
         opportunities in the United States by gaming the asylum system and its attendant
                                                      23
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 28 of 39




         employment authorization. DHS does not dispute that some applicants may have
         filed for asylum in good faith, but will still have their application denied. Nonetheless,
         by implementing this rule along with other measures, the integrity of the asylum
         system will be bolstered. DHS remains committed to finding options to curb abuse
         of the asylum system while prioritizing bona fide asylum seekers. DHS has considered
         alternatives, including taking no action, rescinding its regulation conferring
         employment authorization to all asylum seekers, hiring more staff, and accepting
         forms electronically. In addition to this rulemaking, DHS has undertaken a range of
         initiatives to address the asylum adjudication backlog and mitigate its consequences
         for bona fide asylum seekers, agency operations, and the integrity of the asylum
         system.

85 Fed. Reg. 38532 at 38584. Plaintiffs do not appear to dispute that the ability to obtain work

authorization through the asylum system can be an incentive for some individuals to file non-

meritorious applications. Nor do plaintiffs’ appear to dispute the historical accuracy of the problem

that has sought to be mitigated by the Agency and Congress. Instead, plaintiffs purport that additional,

more detailed, data showing the extent of the problem of economic migrants who use the asylum

system as a means to obtain work authorization is necessary. As set forth above, data collected by the

Agency provides a strong inference that the asylum system is being utilized by economic migrants

without a good-faith basis to apply for asylum. Plaintiffs’ demand for more exacting proof is simply

more than the APA requires. Indeed, “‘[a]n agency’s predictive judgments about areas that are within

the agency’s field of discretion and expertise are entitled to particularly deferential review’” and “need not

rest on ‘pure factual determinations.’” EarthLink, Inc., 462 F.3d at 213 (quoting In re Core Commc’ns,

Inc., 455 F.3d 267, 282 (D.C. Cir. 2006) & FCC v. WNCN Listeners Guild, 450 U.S. 582, 594 (1981))

(emphasis in original). “Judicial deference in the immigration context is of special importance, for

executive officials ‘exercise especially sensitive political functions that implicate questions of foreign

relations.’” Negusie v. Holder, 555 U.S. 511, 517 (2009) (quoting INS v. Abudu, 485 U.S. 94, 110 (1988));

accord Scialabba v. Cuellar de Osorio, 573 U.S. 41, 56–57 (2014); see also Jama v. Immigration & Customs Enf't,
                                                      24
           Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 29 of 39




543 U.S. 335, 348 (2005) (citing Mathews v. Diaz, 426 U.S. 67, 81 (1976)). And “a challenge to the

agency’s assumptions must be more than an effort by [a party] to substitute its own analysis for the

agency’s.” New York, 824 F.3d at 1022. Here, while DHS acknowledged that the rule was not intended

to “solve every aspect of the crisis in the asylum system,” 85 Fed. Reg. 38532, 38584, an agency must

be afforded discretion to make changes that it reasonably believes will have an impact on the identified

problem.

    D.      Acting Secretary Wolf is Properly Serving as the Acting Secretary for Homeland
            Security Pursuant to 6 U.S.C. 113(g)(2)

                     i. Secretary Kirstjen Nielsen’s April 10, 2019 Succession Order was
                        Lawful

         Kirstjen Nielsen served as Secretary of Homeland Security between December 5, 2017 and

April 10, 2019, as evidenced by the FVRA form notifying various congressional committees of the

vacancy and designation of an Acting Secretary. Swartz Decl. at Ex. 5. Notwithstanding then-Secretary

Nielsen’s resignation letter of April 7, 2019, she remained as Secretary until April 10, 2019. Id. see also,

Blackwell Decl at ¶ 6. Before she vacated the position, then-Secretary Nielsen issued an order on April

9, 2019 under 6 U.S.C. § 113(g)(2), expressly designating the order of succession for the Department

of Homeland Security in which she stated, “I hereby designate the order of succession for the Secretary

of Homeland Security as follows.” Blackwell Decl. at Ex. 3. Then-Secretary Nielsen’s order was

unqualified and without exceptions or limitations, as was the memorandum that she signed, which

contained an action line noting that “I hereby designate the order of succession for the Secretary of

Homeland Security as follows.” Id. By approving the accompanying order, she designated her desired

order of succession for Acting Secretary. Id. at 2, and see Swartz Decl. ¶ 3.


                                                    25
           Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 30 of 39




                        ii. Secretary Nielsen’s April 10, 2019 Succession Order Applied to All
                            Vacancies

         Plaintiffs argue that then-Secretary Neilson’s succession designation “only changed the order

of succession for unavailability due to a disaster or catastrophic emergency. PI Motion at 29. This is

incorrect. The amendment that then-Secretary Nielsen signed explains no fewer than five times that

she was designating a new “order of succession.” See Blackwell Decl. at Ex. 3. 9 Plaintiffs’ mistaken

belief is based upon their reliance on a non-binding document. Specifically, DHS Delegation 00106,

an administrative document that collects orders of succession, does not override or change official

action taken by then-Secretary Nielsen. DHS Delegation 00106, “is an administrative document that

is periodically updated to consolidate and maintain in a single document the orders of succession for

many senior positions in DHS”. Swartz Decl. ¶ 4. An administrative document that incompletely

incorporates the Secretary’s explicit order cannot supersede the Secretary’s lawful order of

succession. 10 See id. ¶ 6. The signed order amending the DHS order of succession for Acting Secretary


9 The subject of the memorandum then-Secretary Nielsen signed was “Designation of an Order of Succession for the
Secretary.” Decl. of Juliana Blackwell, Ex. 3, Designation of an Order of Succession for the Secretary (April 9, 2019) at
1. The summary of the memorandum explained “you have expressed your desire to designate certain officers of [DHS]
in order of succession to serve as Acting Secretary.” Id. The action line of the memorandum noted that “[b]y approving
the attached document, you will designate your desired order of succession for the [DHS Secretary].” Id. at 2. The
memorandum’s attachment was titled “Amending the Order of Succession in the Department of Homeland Security.”
Id. The text of the memorandum’s attachment said, “By the authority vested in me as Secretary of Homeland Security,
including the Homeland Security Act of 2002, 6 U.S.C. § 113(g)(2), I hereby designate the order of succession for the
Secretary of Homeland Security . . ..”).
10 Section II.A of the original December 2016 DHS Delegation 00106 remained unchanged in the April 2019 update. As
a result, section II.A said that “[i]n case of the Secretary’s death, resignation, or inability to perform the functions of the
Office, the orderly succession of officials is governed by Executive Order 13753, amended on December 9, 2016.” DHS
Delegation 00106. The lack of any conforming revision to section II.A. was an inadvertent, ministerial error. Then-
Secretary Nielsen did not change the “order of succession for the Secretary of Homeland Security” only to have a prior
Executive Order continue to govern the order of succession within DHS. Notably, Executive Order 13753—which was
signed in December 2016—predated the legislative amendment to 6 U.S.C. § 113(g)(2) that delegated the authority to set
the DHS order of succession to the Secretary. Because then-Secretary Nielsen clearly exercised her statutory authority
under § 113(g)(2) to designate the order of succession, there is no logical way to construe the unchanged reference to

                                                              26
           Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 31 of 39




“was effective when she signed the order on April 9, 2019” and “would have controlled the order of

succession even if DHS Delegation No. 00106 was never updated to reflect the April 9, 2019 change.”

Id. In sum, a Secretary’s unequivocal exercise of authority delegated to her by statute cannot be

displaced by an administrative document. Then-Secretary Nielsen’s April 2019 memorandum was

valid and clearly applied to any type of vacancy.

                      iii. Acting Secretary Kevin McAleenan Lawfully Served as Acting
                           Secretary, His Further Succession Delegation of November 8, 2019 is
                           Lawful, and Acting Secretary Chad Wolf is Lawfully Serving as Acting
                           Secretary

         Pursuant to the April 9, 2019 designation of the DHS order of succession, the Customs and

Board Patrol Commissioner was third in the line to serve as Acting Secretary, behind the Deputy

Secretary and Under Secretary for Management. Blackwell Decl. at Exs. 1, 3. When then-Secretary

Nielsen resigned, then-CBP Commissioner Kevin McAleenan became the Acting Secretary by

operation of this succession order. See Swartz Decl. ¶ 5, Exs. 3–4.

         Plaintiffs’ argument that Acting Secretary Wolf is not lawfully the Acting Secretary must fail.

Mr. McAleenan properly served as Acting Secretary not pursuant to the FVRA and its 210-day

timeline, but instead pursuant to 6 U.S.C. § 113(g)(2). The FVRA is not the exclusive scheme for

acting service if there is an express office-specific statutory provision for succession. 5 U.S.C. §

3347(a). Long after the FVRA’s enactment, Congress added 6 U.S.C §113(g)(2) through the National

Defense Authorization Act for Fiscal Year 2017 (Pub. L. No. 114- 328, § 1903, enacted on Dec. 23,



Executive Order 13753 in an administrative implementing document as anything other than an inadvertent oversight. In
fact, DHS later corrected that oversight, removing the reference to Executive Order 13753 from section II.A DHS
Delegation 00106 entirely. See Blackwell Decl. at Ex. 4. Accordingly, any potential inconsistency between then-Secretary
Nielsen’s April 9, 2020 order amending the order of succession and section II.A DHS Delegation 00106 is clearly the
result of an inadvertent administrative oversight that has since been corrected.
                                                          27
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 32 of 39




2016). As noted above, section 113(g)(2) authorizes a Secretary of Homeland Security to designate

officers of the Department in further order of succession. The Secretary’s statutory authority under

section 113(g)(2) to designate the order of succession exists “[n]otwithstanding chapter 33 of title 5,

the Secretary may designate such other officers of the Department in further order of succession to

serve as Acting Secretary.” 6 U.S.C. § 113(g)(2). As the lawfully serving Acting Secretary, then-Acting

Secretary McAleenan designated a new order of succession on November 8, 2019, pursuant to his

authority under 6 U.S.C. § 113(g)(2). Blackwell Decl. at Ex. 4. This placed the Under Secretary for

Strategy, Policy, and Plans next in the order of succession for Acting Secretary, after the positions of

the Deputy Secretary, Under Secretary for Management, and CBP Commissioner. Blackwell Decl. at

Ex. 2. Although then-Acting Secretary McAleenan designated this succession order 214 days after

Secretary Nielsen’s vacancy began, the 210-day time line does not pertain to designations pursuant to

section 113(g)(2).

         On November 13, 2019, then-Acting Secretary McAleenan resigned from the Department.

Mr. Chad Wolf, the Senate-confirmed Under Secretary for Strategy, Policy, and Plans, became Acting

Secretary, because the Deputy Secretary, Under Secretary for Management, and Commissioner of CBP

positions were vacant. Blackwell Decl. at Ex. 2. As such, Acting Secretary Wolf is lawfully serving in

that position.

    E.      PLAINTIFFS HAVE NOT DEMONSTRATED IRREPARABLE HARM

         An injunction must be denied unless plaintiffs can demonstrate irreparable harm if the rules

are not stayed. Wisconsin Gas Co., 758 F.2d at 674 (explaining that because movants could not establish

irreparable harm, the court need not address any of the other applicable factors). To establish

irreparable harm, plaintiffs must show more than the “possibility” of irreparable harm, but instead
                                               28
         Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 33 of 39




must show that irreparable harm is “likely” absent an injunction. Winter v. NRDC, Inc., 555 U.S. 7, 22,

(2008). “Mere injuries, however substantial, in terms of money, time and energy necessarily expended

in the absence of a stay are not enough.” Di Biase v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017).

Plaintiffs must demonstrate the “likelihood that immediate irreparable harm will occur” and not just

a “fear of speculative or remote future injury.” Hodges v. Abraham, 253 F. Supp. 2d 846, 864 (D.S.C.

2002). “Bare allegations of what is likely to occur are of no value” because the district court must make

the determination of “whether the harm will in fact occur.” Wisconsin Gas, 758 F.2d at 674 (emphasis

original). Irreparable harm must be “both certain and great; it must be actual and not theoretical,” and

“the movant must show that the alleged harm will directly result from the action which the movant

seeks to enjoin.” Wisconsin Gas, 758 F.2d at 674.

        As an initial matter, all plaintiffs are organizations and not individuals seeking asylum. As such,

because organizations to do not submit EAD applications on their own behalf, plaintiffs cannot

establish that they will suffer irreparable harm if the rules are not stayed. The plaintiffs instead

speculate about the general loss of revenue and increased expenses they may have to incur based upon,

inter alia, the need to increase expense for research and education and training. Such general and

speculative allegations, without any showing or accounting, is insufficient to demonstrate irreparable

harm to warrant a stay. Moreover, as addressed below, the plaintiffs’ fail to allege any irreparable harm

that stems directly from the Timeframe Rule or Broader EAD Rule in particular.




                                                    29
              Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 34 of 39




       A.       Plaintiffs Have Not Demonstrated They Will Suffer Irreparable Harm if the
                Timeframe Rule is not Stayed Pending Resolution of this Action

            Whether any asylum seeker who applies for EAD on or after August 21, 2020 will suffer

irreparable harm if the final rule is implemented is purely speculative. First, it must be recognized that

“the average affirmatively filed asylum application completed by USCIS was decided in 166 days in

2018. 85 Fed. Reg. 38532, 38608. This means, on average, for those affirmative asylum seekers granted

asylum by the Agency, work authorization is available prior to the need to have an EAD application

even adjudicated under the current law. Even for those asylum applicants who will rely upon EAD

applications, USCIS anticipates that under the new Timeframe Rule, processing times will be similar

to the FY 2017 pre-Rosario processing times, meaning the best estimate is that the Rule would result

in an average delay of 31 11 calendar days. Id; see also 85 Fed Reg at 37503. It cannot be said that a 31-

day delay of work authorization would constitute irreparable harm to an individual, or to any of the

plaintiff organizations. And of course, if any applicant believes that their application is pending for an

unreasonable amount of time, avenues to address excessive delays exist. 85 Fed. Reg. 37502, 37511;

see also Sampson v. Murray, 415 U.S. 61, 90 (1974) (reasoning that “[t]he possibility that adequate

compensatory and other corrective relief will be available at a later date . . . weighs heavily against a

claim of irreparable harm.”).

       B.       Plaintiffs Have Not Demonstrated They Will Suffer Irreparable Harm if the
                Broader EAD Rule is not Stayed Pending Resolution of this Action

            Plaintiffs allege their clients may be harmed in obtaining employment authorization by the

Broader EAD Rule’s amended waiting period (180 days minimum, to 365 calendar days for eligibility),



11   This assumption does not take into account any delays that may be the result of the current COVID situation.
                                                            30
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 35 of 39




and state generally that their clients may not qualify under the new eligibility criteria. Both contentions

are speculation, do not amount to imminent harm, and do not meet the burden to warrant injunctive

relief. As noted, “the average affirmatively filed asylum application completed by USCIS was decided

in 166 days in 2018,” which leads to immediate employment authorization for those granted asylum

by the Agency. 85 Fed. Reg. 38532 at 38608. Thus, the 365-day waiting period will not even be

applicable to many asylum seekers. Additionally, it is entirely likely that certain applicants will receive

an EAD more quickly under the new 365-calendar day rule than under the current 180-day waiting

period because calculation of the latter includes delays in the asylum adjudication caused or requested

by the applicant, whereas the former does not. 85 Fed. Reg. 38532, 38547-48 (“The 180-day Asylum

EAD Clock excludes delays requested or caused by the applicant and does not run again until the

applicant cures the delay or until the next scheduled event in a case, such as a postponed interview, or

a continued hearing); see EOIR-USCIS joint notice, The 180-day Asylum EAD Clock Notice.,

https://www.uscis.gov/sites/default/files/Asylum_Clock_Joint_Notice_-_revised_06-08-2018.pdf

(last updated June 8, 2018). This means that the time an applicant utilizes to find an attorney or

assemble evidence, for example, will not affect the 365-day waiting period; instead, only unresolved

applicant-caused delays in the adjudication of the asylum application that exist on the date the initial

EAD application is filed will affect eligibility for employment authorization. 85 Fed. Reg. 38532 at

38549.

         Finally, many of the Broader EAD Rule’s provisions are prospective and only apply to

behavior that will occur on or after August 25, 2020. For example, the illegal entry bar, one-year-filing-

bar, and new criminal bars only apply to future behavior. Plaintiffs fail to establish how any of the

eligibility criteria might apply to their clients, and therefore fails to amount to imminent harm.
                                                       31
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 36 of 39




    C.      THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST WEIGH IN
            FAVOR OF THE DEFENDANTS

         Before granting injunctive relief, “courts ‘must balance the competing claims of injury and

must consider the effect on each party of the granting or withholding of the requested relief’ and

“should pay particular regard for the public consequences in employment the extraordinary remedy

of injunction.” Winter v. NRDC, Inc., 555 U.S. 7, 24, 129 S. Ct. 365, 376-77 (2008) (citations omitted)

(“the District Court and the Ninth Circuit significantly understated the burden the preliminary

injunction would impose on the Navy's ability to conduct realistic training exercises, and the

injunction’s consequent adverse impact on the public interest in national defense.”). When the

Government is a party, the balance of equities and the public interest should be considered together.

Nken v. Holder, 556 U.S. 418, 435 (2009).

         As discussed in detail above, the purpose of the Timeframe Rule is to ensure that USCIS has

sufficient time to receive, screen, and process applications for an initial grant of employment

authorization, based on a pending asylum application. 85 Fed. Reg. at 37502. This change would also

reduce opportunities for fraud and protect the security-related processes undertaken for each EAD

application. 85 Fed. Reg. at 37502. Moreover, the Timeframe Rule is necessary to permit DHS to

reallocate limited resources that have been diverted to comply with the Rosario order. Should this Court

stay the Timeframe Rule, USCIS will necessarily be required to continue to divert significate resources

from other immigration benefit request types, which will cause irreparable harm. As such, a stay of

this goal would be against the public interest.

         With respect to the Broader EAD Rule, the purpose the rule is, inter alia, to curb abuse of the

asylum system while prioritizing bona fide asylum seekers. 85 Fed. Reg. 38532, 38584-38585. A stay

                                                   32
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 37 of 39




of the Broader EAD Rule would be against the public interest, because the interest in addressing the

crisis at the Southern border and its strain on sovereignty, rule of law, and resources, coupled with the

ongoing harm to bona fide applicants lost in a pool of non-meritorious applicants, outweighs the

speculative harm alleged by Plaintiffs. It is always in the public interest to protect the country’s borders

and enforce its immigration laws, and the requested injunction would frustrate the federal

government’s “law enforcement and public safety interests,” Maryland v. King, 567 U.S. 1301, 1303

(2012), and the “public interest in effective measures to prevent the entry of illegal aliens” at the

Nation’s borders, United States v. Cortez, 449 U.S. 411, 421 n.4 (1981). See also Landon v. Plasencia, 459

U.S. 21, 34 (1982). Here, there can be no dispute that since 2016, the United States has experienced

an unprecedented surge in the number of aliens who enter the country unlawfully across the southern

boarder. See 85 Fed. Reg. 38532, 38545. In FY 2019, for example, CBP apprehended over 800,000

individuals attempting to enter the U.S. illegally, which is more than double the year prior. Id. There

is consistent historical evidence that approximately 20 percent or less of such asylum claims will be

successful. Id. The large influx has consumed an inordinate amount of DHS’s resources, which

includes surveilling, apprehending, screening, and processing the aliens who enter the country,

detaining many aliens pending further proceedings, and representing the United States in immigration

court proceedings. Id. The surge has also consumed substantial resources at DOJ–EOIR, whose IJs

adjudicate asylum claims. Id. In order to maintain the very integrity of the asylum system, it is

imperative that DHS take all necessary measures to create disincentives to come to the United States

for aliens who do not fear persecution based on the five protected grounds of race, religion,

nationality, political opinion, or membership in a particular social group, or fear torture. Id.


                                                    33
          Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 38 of 39




         Finally, weighing against injunctive relief, the Government asks the Court to consider the fact

that USCIS had notified the public and its employees that, absent congressional intervention, USCIS

may need to furlough over 13,000 USCIS employees. See Deputy Director for Policy Statement on

USCIS’ Fiscal Outlook, https://www.uscis.gov/news/news-releases/deputy-director-for-policy-

statement-on-uscis-fiscal-outlook (last visited July 30, 2020). While initially scheduled to go into effect

on August 3, 2020, USCIS informed employees it was able to delay the furloughs until August 30,

2020.

    D.       ANY RELIEF SHOULD BE NARROW AND LIMITED TO THE
             PLAINTIFFS

          Article III requires that a “remedy must be tailored to redress the plaintiff’s particular

injury.” Gill v. Whitford, 138 S. Ct. 1916, 1934 (2018). Injunctions that go beyond Plaintiffs’ own

injuries exceed the power of a court sitting in equity, which must limit injunctions to “be no more

burdensome to the defendant than necessary to provide complete relief to the plaintiffs.” Madsen v.

Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994). “[T]he purpose of” preliminary equitable relief “is

not to conclusively determine the rights of the parties, but to balance the equities as the litigation

moves forward.” Trump v. Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017). Courts thus “need

not grant the total relief sought by the applicant but may mold [their] decree to meet the exigencies of

the particular case.” Id.; U.S. Ass’n of Reptile Keepers, Inc. v. Jewell, 106 F. Supp. 3d 126, 129 (D.D.C.

2015), aff’d sub nom. U.S. Ass’n of Reptile Keepers, Inc. v. Zinke, 852 F.3d 1131 (D.C. Cir. 2017) (“the Court

has not finally determined that the [action] is unlawful,” so “the need for narrow tailoring ... is

particularly important,” and any “injunction should be limited in scope to protect only” parties).

Accordingly, the Fourth Circuit has held that nationwide injunctions may be broader than necessary

                                                     34
         Case 8:20-cv-02118-PX Document 41 Filed 08/03/20 Page 39 of 39




in APA case. Virginia Soc’y for Human Life v. FEC, 263 F.3d 379, 393 (4th Cir. 2001) (“Nothing in the

language of the APA ... requires us to exercise such far-reaching power.”). Accordingly, should this

Court find that an injunction is warranted, it must be narrowly tailored and need not be nation-wide.

        Here, the Timeframe Rule and the Broader EAD Rule have different purposes and should be

analyzed separately. Similarly, the Broader EAD Final Rule amends seven separate regulations and

contains many provisions relating to the filing of the asylum application and asylum interviews that

are not being challenged Here, plaintiffs focus primary on the purported imminent harm associated

with the 365-day waiting period. Should the Court find immediate harm based upon one or some of

the rules, but not all the rules, the Court should not enjoin the whole rulemaking. Indeed, DHS

included a severability clause in 208.7(c) that would permit this Court to stay one provision without

staying the entire rule, should the Court find that appropriate.

                                           CONCLUSION

        Wherefore, the defendants request that plaintiff’s motion for a stay or preliminary injunction

be denied.

                                                        Respectfully submitted,

                                                        ROBERT K. HUR
                                                        United States Attorney

                                                             Jane E. Andersen       /s/
                                                        Jane E. Andersen (Bar No: 802834))
                                                        Assistant United States Attorney
                                                        6500 Cherrywood Lane, Suite 200
                                                        Greenbelt, MD 20770
                                                        (301) 344-4422
                                                        Jane.Andersen@usdoj.gov



                                                  35
